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                                              UNITED STATES DISTRICT COURT
17
                                             NORTHERN DISTRICT OF CALIFORNIA
18
                                                 SAN FRANCISCO DIVISION
19
     APPLE, INC.,                                             Case No. 06-CV-00019 MHP
20
                               Plaintiff and                  STIPULATION AND ORDER OF
21                             Counterdefendant,              DISMISSAL
22             v.
23   BURST.COM, INC.,
24                             Defendant and
                               Counterclaimant.
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                                                                                  Case No. 06-CV-00019 MHP
     STIPULATION AND ORDER OF DISMISSAL
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       Case 3:06-cv-00019-MHP Document 204 Filed 12/05/07 Page 2 of 3



 1
                         The undersigned parties, through their respective counsel, hereby stipulate to
 2
     dismissal of the above-captioned case as follows:
 3
                         1.         All claims and counterclaims are dismissed with prejudice.
 4
                         2.         Each party shall bear its own costs of suit and attorneys’ fees.
 5

 6
     Dated: December 3, 2007                               Respectfully submitted,
 7

 8                                                                 /s/ Nicholas A. Brown
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     STIPULATION AND ORDER OF DISMISSAL                         1
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13
                                                                  ISTRIC
14   PURSUANT TO STIPULATION, IT IS SO ORDERED.
                                                             TES D      TC
                                                           TA
     Dated: 12/4/2007




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                                                         T IS S Hall Patel
                                          The HonorableIMarilyn
                                          United States District Court Judge




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     STIPULATION AND ORDER OF DISMISSAL      2
